     Case:19-05002-MJK Doc#:1 Filed:04/17/19 Entered:04/23/19 11:41:48                                                           Page:1 of 32
 B1040(FORM 1040)(12/15)

       HeU)VERSARY PROCEEDING COVER SHEET                                                      ADVERSARY PROCEEDING NUMBER
                                                                                               (Court Use Only)
                (Instructions on Reverse)

PLAINTIFFS                                                                      DEFENDANTS

                                                                                T^i// 'Dar^lvin
ATTORNEYS(Firm Name, Address, and Telephone No.)                                ATTORNEYS(IfKnown)




PARTY(Check One Box Only)                                                       PARTY (Check One Box Onlyf'*'>etf
□ Debtor   □ U.S. Trustee^ankruptcy Admin                                       is45ebtor             □ U.S. Trustee/Baiiflai^^f9fii^5^^
Ba^reditor              □ Other                                                 □ Creditor            □ Other
□ Trustee                                                                       □ Trustee

CAUSE OF ACTION (WRTTEABRIEF STATEMENT OF CAUSE OF ACTIGN, INCLUDING ALL U.S. STATUTES INVOLVED)


                                                                           /7i7.
                                                                     NATURE OF SUIT
        (Number up to five (5) boxes starting with lead cause of action as 1, first alternative cause as 2, second alternative cause as 3, etc.)

    FRBP 7001(1) - Recovery of Money/Property                                   FRBP 7001(6) - DischargeabUity (continued)
□   11-Recovery of money/property - §542 turnover of property                   □ 61-Dischargeability - §523(a)(5), domestic support
Q   12-Recoveiy of money/property - §547 preference                             □ fiS-Dischaigeability - §523(aX6), willful and malicious injury
□   13-Recoveiy of money/property - §548 fiaudulent transfer                    □ 63-Dischargeability - §523(a)(8), student loan
□   14-Recovery of money/property - other                                       □ 64-Dischargeability - §523(a)(15), divorce or separation obligation
                                                                                        (other than domestic support)
    FRBP 7001(2) - Validity, Priority or Extent of Lien                         1^ 65-Dischargeability - other
CH 21-Validity, priority or extent of lien or other interest in property
                                                                                FRBP 7001(7) - Injunctive Relief
    FRBP 7001(3) - Approval of Sale of Property                                 □ 71-Injunctive relief - imposition of stay
CD 31-ApprovaI of sale of property of estate and of a co-owner - §363(h)        D 72-Injimctive relief-other
    FRBP 7001(4) - Objection/RevocatioD of Discbarge                            FRBP 7001(8) Subordination of Claim or Interest
□ 41-Objection / revocation of discharge - §727(c),(d),(e)                      □ 81-Subordination of claim or interest
    FRBP 7001(5) - Revocation of Confirmation                                   FRBP 7001(9) Declaratory Judgment
□ 51-Revocation of confirmation                                                 □ 9 l-Declaratoiy judgment
    FRBP 7001(6) - Dischargeability                     »                       FRBP 7001(10) Determination of Removed Action
Q 66-Dischargeability - §523(aXl),(14),(14A) priority claims                    □ 01-Determination of removed claim or cause
m 62-Dischargeability - §523(aX2), false pretenses, Alse representation,
        actual fifBud                                                           Other
□ 67-Dischargeability - §523(a)(4), fraud as fiduciary, embezzlement, larceny   D SS-SIPA Case - 15 U.S.C. §§78aaa etseq.
                        (continued next column)
                                                                                □ 02-Other (e.g. other actions that would have been brought in state court
                                                                                         if unrelated to bankruptcy case)

□ Check if this case involves a substantive issue of state law                  □ Check if this is asserted to be a class action under FRCP 23
□ Check if a jury trial is demanded in complaint                                Demand $
Other Relief Sought
   Case:19-05002-MJK Doc#:1 Filed:04/17/19 Entered:04/23/19 11:41:48                                          Page:2 of 32
 B1040(FORM 1040)(12/15)

       f             BANKRUPTCY CASE IN WfflCH THIS ADVERSARY PROCEEDING ARISES
NAME OF DEBTOR                       .                               BANKRUPTCY CASE NO.


DISTRICT IN WHICH CASE IS PENDING                                    DIVISION OFFICE                  NAME OF JUDGE


                                     RELATED ADVfeRSARY PROCEEI^ING(IF ANY)
PLAINTIFF                                           DEFENDANT                                         ADVERSARY
                                                                                                     PROCEEDING NO.


DISTRICT IN WHICH ADVERSARY IS PENDING                               DIVISION OFFICE                  NAME OF JUDGE


SIGNATURE OF ATTORNEY(OR PLAINTIFF)




DATE                                                                PRINT NAME OF ATTORNEY(OR PLAINTIFF)

            V 1^                                                        /y                                 S

                                                       INSTRUCTIONS

           The filing ofa bankruptcy case creates an "estate" under the jurisdiction ofthe bankruptcy court which consists of
 all ofthe property ofthe debtor, wherever that property is located. Because the bankruptcy estate is so extensive and the
 jurisdiction ofthe court so broad, there may be lawsuits over the property or property rights ofthe estate. There also may be
 lawsuits concerning the debtor's discharge. Ifsuch a lawsuit is filed in a bankruptcy court, it is called an adversary
 proceeding.

         A party filing an adversary proceeding must also must complete and file Form 1040,the Adversary Proceeding
 Cover Sheet, unless the party files the adversary proceeding electronically through the court's Case Management/Electronic
 Case Filing system(Chi'ECF). (CM/ECF captures the information on Form 1040 as part ofthe filing process.) When
 completed, the cover sheet summarizes basic information on the adversary proceeding. The clerk ofcourt needs the
 information to process the adversary proceeding and prepare required statistical reports on court activity.

          The cover sheet and the information contained on it do not replace or supplement the filing and service ofpleadings
 or other papers as required by law,the Bankruptcy Rules, or the local rules of court. The cover sheet, which is largely self-
 explanatory, must be completed by the plaintiffs attorney(or by the plaintiffifthe plaintiff is not represented by an
 attorney). A separate cover sheet must be submitted to the clerk for each complaint filed.

 Plaintiffs and Defendants. Give the names ofthe plaintiffs and defendants exactly as they appear on the complaint.

 Attorneys. Give the names and addresses ofthe attorneys, if known.

 Party. Check the most appropriate box in the first column for the plaintiffs and the second colunm for the defendants.

 Demand. Enter the dollar amount being demanded in the complaint.

 Signature. This cover sheet must be signed by the attomey ofrecord in the box on the second page ofthe form. Ifthe
 plaintiff is represented by a law firm, a member ofthe firm must sign. Ifthe plaintiffis pro se,that is, not represented by an
 attomey,the plaintiff must sign.
                                                                                  F8LED
Case:19-05002-MJK Doc#:1 Filed:04/17/19 Entered:04/23/19 11:41:48              Page:3 of 32
                                                                      at I I Cydqckft
                                                                       Date.


                   UNITED STATES BANKRUPTCY COURT
               FOR THE SOUTHERN DISTRICT OF GEORGIA

 IN RE:PAUL DARSHAN SHARMA,
          Debtor,
                                                     Case No. 18-50834-MJK
 THE KASPERS FIRM,LLC,SCOTT
 EDWARDS and DEBBIE RICHARDS,                        Chapter 7
          Plaintiffs,
                                                     Adversary Proceeding
 vs.                                                       No.:


 PAUL DARSHAN SHARMA,
              Defendant.


  COMPLAINT OBJECTING TO DISCHARGEABILITY OF DEBTS AND
                            DISCHARGE OF DEBTOR


       Plaintiffs, by and through their undersigned counsel, hereby object to the

 discharge of debts owed to them by Paul Darshan Sharma("Defendant" or

 "Debtor"), pursuant to 11 U.S.C. § 523, and also objects to the discharge, in

 general,ofDebtor pursuant to 11 U.S.C. § 727, as follows:

 JURISDICTION AND VENUE

    1. The Court has jurisdiction over this adversary proceeding pursuant to 28

       U.S.C. § 1334,11 U.S.C. §§ 523(a)and 727,and Bankruptcy Rule 7001.

       This adversary proceeding is one arising out ofthe Debtor filing a voluntary

       petition under chapter 7 ofthe Bankruptcy Code, which is Case Number 18-

       50834-MJK pending in this Court. This is a core proceeding.

    2. Venue is proper in this Court pursuant to 28 U.S.C. §§ 1408 and 1409.
Case:19-05002-MJK Doc#:1 Filed:04/17/19 Entered:04/23/19 11:41:48          Page:4 of 32



 FACTUAL BACKGROUND


    3. On January 31, 2018,Plaintiffs filed a collective action complaint against

       Defendant alleging that they and their former co-workers had been subjected

       by Defendant to willful violations ofthe Fair Labor Standards Act("FLSA")

       in the United States District Court for the Southern District of Georgia,

       Waycross Division, Case No.5:18-cv-6. Defendants in the FLSA case

       would find homeless or indigent individuals and have them work at their

       hotel in exchange for $25-$35 every two weeks, or less than 45 cents per

       hour. The FLSA Defendants also required their tenants/employees to work

       overtime without any compensation. If a tenant/employee refused to work

       overtime without compensation,they were immediately evicted.

    4. During the discovery phase ofthe Plaintiffs' FLSA case. Defendant

       provided two "Financial Statements" signed by Defendant,one on April 1,

       2018 ("Exhibit 1," hereto) and another on August 29,2018("Exhibit 2,"

       hereto).

    5. On October 10,2018,a mediation was held with Magistrate Judge Benjamin

       Cheesbro. A Settlement Agreement was reached during which Defendant

       agreed to pay Plaintiffs no less than $3,480 no later than December 21,

       2018. iSee "Exhibit 3," hereto at 2.
Case:19-05002-MJK Doc#:1 Filed:04/17/19 Entered:04/23/19 11:41:48          Page:5 of 32



    6. On December 21,2018,Defendant breached the Settlement Agreement by

       failing to pay the first installment to Plaintiffs.

    7. On December 22,2018, Defendant,through counsel, informed Plaintiffs that

       Defendant was unable to pay any amount to Plaintiffs, and intended to

       declare for bankruptcy protection under Chapter 7.

    8. On December 28,2018,Defendant filed his petition for bankruptcy

       protection with this Court.

    9. A Meeting of Creditors was held on February 15,2019 at 9:00 a.m. at the

       U.S. Courtroom, 3rd Floor, Federal Building,601 Tebeau Street, Waycross,

       GA.


    10.During that meeting,the Trustee elicited testimony from Defendant wherein

       Defendant swore, under oath, that:

             a. The $40,088.00 in debt owed to American Express,the $12,834.00

                 in debt owed to Discover Financial Services, as well as other credit

                 card debt, was incurred by paying a mortgage and expenses for a

                 hotel,"Comfortel Suites," located at 1007 N Peterson Ave,

                 Douglas, GA.

             b. Although Defendant was paying the mortgage and other bills for

                 Comfortel Suites, Comfortel Suites did not reimbursing Defendant

                for any ofthose mortgage or utility payments.
Case:19-05002-MJK Doc#:1 Filed:04/17/19 Entered:04/23/19 11:41:48          Page:6 of 32



              c. Instead, all ofthe profits/money made by Comfortel Suites was

                 paid directly to a bank account at SunTrust owned by Sharma

                 Hospitality, LLC.

              d. Sharma Hospitality,LLC is owned by Defendant's father, Shaun

                 B. Sharma.


              e. Defendant has never been a member ofSharma Hospitality, LLC.

    11.Also during the Februaiy 15, 2019 meeting of creditors. Defendant admitted

      that:


              a. Defendant and his wife own a 2011 Acura vehicle which has been

                 paid in full. Defendant did not list this asset on his Form 106A/B.

              b. Defendant owns a boat. Defendant did not list this asset on his

                 Form 106A/B. In fact. Defendant swore, under oath, on Form

                 106A/B that he did not own a watercrafl

    12.The Annual Registration filed by Sharma Hospitality, LLC with the Georgia

      Secretary of State on January 11,2017, identifies "Paul D Sharma" as a

      "Member."


    13.0n March 13, 2019, in response to Defendant's December 21,2018 breach

      ofthe Settlement Agreement,Plaintiffs have filed another FLSA Complaint

      in the United States District Court for the Southern District of Georgia, Case

      No. 5:19-cv-22.
Case:19-05002-MJK Doc#:1 Filed:04/17/19 Entered:04/23/19 11:41:48             Page:7 of 32




 Legal Standard


        11 U.S.C. § 111(a), governs the grant ofa discharge in a chapter 7 case.

 This statute provides, in relevant part;(a)The Court shall grant the debtor a

 discharge, unless(2)the debtor destroyed or transferred property within one year

 before the date ofthe filing ofthe petition;(3)the debtor has concealed, destroyed,

 mutilated, falsified, or failed to keep or preserve any recorded information,

 including books, documents,records, and papers, from which the debtor's financial

 condition or business transactions might be ascertained, unless such act or failure

 to act wasjustified under all ofthe circumstances ofthe case;(4)the debtor

 knowingly and fraudulently, in or in connection with the case -(A)made a false

 oath or account;(B)presented or used a false claim;(C)gave, offered, received, or

 attempted to obtain money,property, or advantage, or a promise ofmoney,

 property, or advantage,for acting or forbearing to act; or(D)witliheld from an

 officer ofthe estate entitled to possession under this title, any recorded

information, including books, documents,records, and papers, relating to the

 debtor's property or financial affairs; or(5)the debtor has failed to explain

satisfactorily, before determination ofdenial ofdischarge under this paragraph, any

loss of assets or deficiency ofassets to meet the debtor's liabilities.
Case:19-05002-MJK Doc#:1 Filed:04/17/19 Entered:04/23/19 11:41:48               Page:8 of 32



       In In re Chalik, the Eleventh Circuit stated that "[t]he subject matter ofa

 false oath is 'material,' and thus sufficient to bar discharge,if it bears a

 relationship to the [bankruptcy]...estate[.]" In re Chalik, 748 F.2d at 618. All

 items in question in this case bear a relationship to the estate because each omitted

 item was properly property ofthe estate. Defendant's estimate that the items were

 of no value has no bearing on his creditors' rights "to judge for themselves what

 will benefit, and what will prejudice,them." Id. The omission of an exemptible

 item of property is material to the case because debtors are not automatically

 entitled to any particular exemption. Defendant had the right to claim exemptions

 pursuant to Section 522, but he had to follow the procedure specified in Federal

 Rule ofBankruptcy Procedure 4003(a). This rule, requiring debtors to list their

 claimed exemptions on their schedules of assets, compliments the rights of

 creditors to review claimed exemptions and, if appropriate, object to them pursuant

 to Rule 4003(b). In asking the Court to condone his omissions. Defendant

 effectively asks the Court to negate his creditors' rights to object to his claimed

 exemptions.

 Argument


       Defendant made a number of material misstatements and knowing

 omissions, under oath, to this Court and his creditors. More alarming is the

 scheme used by Defendant to take advantage ofthe bankruptcy protections
Case:19-05002-MJK Doc#:1 Filed:04/17/19 Entered:04/23/19 11:41:48         Page:9 of 32



 afforded by Chapter 7 applicants wherein Defendant incurred tens ofthousands of

 dollars in debt by paying the financial obligations of his father's company(Sharma

 Hospitality, LLC)but, instead ofreimbursing Defendant for those debts, Sharma

 Hospitality, LLC took all ofthe proceeds from that company and left Defendant to

 declare bankruptcy in an attempt to discharge those debts.

       Defendant should have never filed for bankruptcy. A reimbursement by

 Sharma Hospitality ofthe amounts spent by Defendant on its behalf would have

(1)paid off all ofthe credit card debt incurred by Defendant on behalfofSharma

 Hospitality, LLC and(2)allowed Defendant to meet his financial obligations to

 Plaintiffs^

       Furthermore, Defendant made a number of omissions and misstatements in

 the "Property Schedule" Defendants submitted to this Court after confirming,

 under oath,that the contents ofthat schedule were accurate and complete. For

 example. Defendant's August 29,2018, Financial Statement identifies a "Boat"

 which was not identified in Defendants'"Property Schedule." Defendant's

"Property Schedule" identifies a"Sea Doo Jet Ski" and "Chevrolet El Camino"

with a combined value of$1,500. Defendant's August 29,2018 Financial

Statement lists the value ofthe "El Camino- Model 78, Jet Ski,[and] Boat" at

^ Defendant and the Plaintiffs agreed to a structured settlement payment plan,
which would be accelerated in Ihe event Defendant failed to m^e a payment.
Defendant failed to make the first payment, making the entire $35,000.00 due
immediately.
Case:19-05002-MJK Doc#:1 Filed:04/17/19 Entered:04/23/19 11:41:48           Page:10 of 32



 $4,500. See Exhibit 2," hereto. Accordingly, pursuant to Defendant's valuation,

 the boat which Defendant failed to disclose to this Court has a value of$3,000.

       On April 1,2018,Defendant stated that he had $15,000 in personal property.

 That number was decreased to $4,500 by August 29, 2018, but Defendant has

 nowhere explained to this Court or his creditors what happened to the $10,500 in

 personal property which Defendant disposed of between April 1 and August 29,

 2018. Compare "Exhibit 1," with "Exhibit 2," and Defendant's "Property

 Schedule."


       Defendant's April 1 Financial Statement states that he had, as ofthat date,

 incurred $21,100 in credit card debt. Defendants' August 29,2018 Financial

 Statement states that he had, as ofthat date, incurred $29,100 in credit card debt.

 Accordingly, in the nearly five months between financial statement. Defendant had

 incurred $8,000 in credit card debt. However,Defendant's December 28,2019

 bankruptcy petition identifies no less than $56,545 in credit card debt.

 Accordingly, in the four intervening months between August 29,2018 and

 Defendant's bankruptcy petition. Defendant allegedly incurred $27,445, where he

 had only incurred $8,000 in credit card debt during the preceding five months.

 This substantial, and rapid,increase in debt raises questions regarding the accuracy

 of, and motive behind. Defendant's bankruptcy petition.
Case:19-05002-MJK Doc#:1 Filed:04/17/19 Entered:04/23/19 11:41:48          Page:11 of 32



        Defendant's misstatements to this Court should not be tolerated. It is

 undeniable that Defendant committed perjury in attempting to have this Court

 discharge debts that were seemingly incurred on behalfofa company to which he

 claims to have no ownership interest, and which is owned by Defendant's father.

 The bankruptcy code is intended to provide assistance to individuals in legitimate

 need ofhelp, not to financially enrich family members ofpetitioners.

 COUNT!


 Non-dischargeabilitv ofDebts Pursuant to 11 U.S.C. $ 523(a¥2)for improperly
 transferring property to his father

        Defendant incurred tens ofthousands of dollars in credit card debt in 2018

 by paying bills owed by Sharma Hospitality, LLC,his father's company.

        All ofthe proceeds from the hotel owned by Sharma Hospitality, LLC were

 kept by Sharma Hospitality,LLC or Defendant's father instead of being used to

 reimburse Defendant for the debts he incurred on their behalf.

        Defendant incurred tens ofthousands of dollars in debt while allowing his

 father to directly benefit from that debt.

        The tens ofthousands of dollars ofdebt incurred by Defendant on behalf of

 his father's company in 2018 is more than sufficient to pay the $35,000.00 owed to

 Plaintiffs.


 COUNT II
Case:19-05002-MJK Doc#:1 Filed:04/17/19 Entered:04/23/19 11:41:48         Page:12 of 32



 Non-dischargeabilitv ofDebts Pursuant to 11 U.S.C. $ 523(a¥3)for failing to
  maintain financial documents relating to his employment with Sharma Hospitality.
 LLC


        No financial information relating to the tens ofthousands ofdollars in

 mortgage and utility payments made by Defendant on behalf ofSharma

 Hospitality, LLC in 2018was provided by Defendant.

       No financial information relating to any amount paid by the Comfortel

 Suites hotel to Sharma Hospitality, LLC was produced. No financial information

 relating to any amount paid by Sharma Hospitality,LLC to Defendant's father,

 Shaun Sharma, was produced. Without this information, it is impossible for

 Plaintiffs or this Court to "follow the money" from the hotel's customers to

 Defendant's father, as opposed to using proceeds from the hotel's customers to

 reimburse Defendant for the tens ofthousands of dollars ofdebt incurred by

 Defendant on behalfof Sharma Hospitality, LLC and Shaun Sharma.

 COUNT m


 Non-dischargeabilitv ofDebts Pursuant to 11 U.S.C. $ 523 fa¥4)for knowingly
 concealing property from his creditors


       Defendant signed his voluntary petition, schedule and statement offinancial

 affairs under penalty of perjury on December 28,2018.

       On February 16,2019,the trustee commenced the meeting of creditors

 pursuant to 11 U.S.C. § 341. At the meeting the Defendant appeared and



                                          10
Case:19-05002-MJK Doc#:1 Filed:04/17/19 Entered:04/23/19 11:41:48            Page:13 of 32



  reaffirmed, under oath,the accuracy and completeness ofhis voluntary petition,
 schedules and statement offinancial affairs.

        Official Bankruptcy Form "Schedule B - Personal Property" required
 Defendant to disclose all of his personal property assets. Plaintiffs allege that the

 Defendant did not disclose all ofhis personal property assets and knowingly and

 fraudulently, in connection with this case, made false oaths or accounts regarding
 the disposition, ownership, and transfer ofassets in order to prevent such assets

 from being reachable by creditors.

       Defendant owns a boat which was not disclosed on the "Schedule B-

 Personal Property" that Defendant submitted to this Court. Defendant's failure to

 disclose an interest his boat was a knowing and fraudulent making ofa false oath

 or account in connection with his bankruptcy case.

       A vehicle owned jointly by Defendant and his wife, a 2011 Acura, was not

 listed on Defendant's "Schedule B." The Debtor had an interest in the 2011 Acura

 that should have been disclosed on Schedule B. Defendant's failure to disclose an

 interest in the 2011 Acura was a knowing and fraudulent making of a false oath or

 account in connection with his bankruptcy case.

 COUNT IV


 Non-discharge Under 11 U.S.C. ^ 727(a¥3)for failing to maintain financial
 documents relating to his emplovment with Sharma Hospitality. LLC



                                          11
Case:19-05002-MJK Doc#:1 Filed:04/17/19 Entered:04/23/19 11:41:48          Page:14 of 32



        No financial information relating to the tens ofthousands of dollars in

  mortgage and utility pajmients made by Defendant on behalf of Sharma

 Hospitality, LLC in 2018was provided by Defendant.

       No financial information relating to any amount paid by the Comfortel

 Suites hotel to Sharma Hospitality, LLC was produced. No financial information

 relating to any amount paid by Sharma Hospitality, LLC to Defendant's father,

 Shaun Sharma, was produced. Without this information, it is impossible for

 Plaintiffs or this Court to "follow the money" from the hotel's customers to

 Defendant's father, as opposed to using proceeds from the hotel's customers to

 reimburse Defendant for the tens ofthousands of dollars ofdebt incurred by

 Defendant on behalf of Sharma Hospitality, LLC and Shaun Sharma.

       Detailed financial information relating to the financial interplay between

 Defendant, Sharma Hospitality, LLC and Shaun Sharma was repeatedly requested

 by Plaintiffs in their underlying FLSA lawsuit, but that information was never

 provided. Accordingly, it is apparent that Defendant has failed to properly

 maintain financial records necessary to determine the adequacy and validity of his

 bankruptcy petition in violation of 11 U.S.C. § 727(a)(3).

 WHEREFORE,Plaintiffs pray for relief as follows:

    1. With respect to Count I, enterjudgment and an order denjdng Defendant a

       discharge with respect to the Settlement Agreement entered into between


                                         12
Case:19-05002-MJK Doc#:1 Filed:04/17/19 Entered:04/23/19 11:41:48         Page:15 of 32



       Plaintiffs and Defendant, and impose attorneys' fees and costs to Plaintiffs

       pursuant to 11 U.S.C. § 523(a)(2);

    2. With respect to Count n,enterjudgment and an order denying Defendant a

       discharge pursuant to 11 U.S.C. § 727(a)(3);

    3. With respect to Count II, enterjudgment and an order denying Defendant a

       discharge pursuant to 11 U.S.C. § 727(a)(5);

    4. For an award ofcosts and attorneys' fees incurred in prosecuting this action;

       and


    5. For such other and further relief as this court deemsjust and proper.

 Dated this 15th day ofApril, 2019




                          Tyler B. Kaspers, Ga. B^nNo7445708
                          THE KASPERS FIRM,LLC
                          152 New Street, Suite 109B
                          Macon,GA 31201
                          404-944-3128
                          tvler@kaspersfirm.com


                          Counsel for Plaintiffs




                                         13
    Case:19-05002-MJK Doc#:1 Filed:04/17/19 Entered:04/23/19 11:41:48                                         Page:16 of 32

                                 UNITED STATES BANKRUPTCY COURT
                                       Southern District of Georgia

 In the matter of:
 PAUL DARSHAN SHARMA
                                                                                   Chapter: 7
                                                                                  Case No.: 18-50834-MJK
                                 Debtor(s)
 THE KASPERS FIRM, LLC. SCOTT EDWARDS and DEBBIE
 RICHARDS



                                              Movant
 PAUL DARSHAN SHARMA




                                             Respondent



                                           NOTICE OF OBJECTION TO CLAIM


 Movant has objected to your claim filed In this bankruptcy case.

 Your claim mav be reduced, modified or eliminated. You should read these papers carefully and discuss them
 with your attomey. If you do not have an attomey, you may wish to consult one.

 If you have legal grounds to oppose the objection, or If you wish the court to consider your views on the objection,
 you must file a written request for a hearing with Clerk of the Bankruptcy Court before the expiration of thirty (30)
 days from the date stated in the certificate of service.

 If you mail your request for hearing to the court, you must mail it early enough so that it will be received within the
 time referenced above.

 Any request for a hearing must also be mailed to the moving party and all other persons indicated in the certificate
 of service attached to these pleadings.

 If a timely requestfor hearing is filed, you will receive a notice of the date, time and place of hearing.
 If you or your attomey do not take these steps, the court will decide that you do not oppose the objection to your claim.
 Claimant has been sen/ed with a copy of the objection and a copy of this notice, and if claimant is a U. S.
 govemment agency, the U.S. Attomey, P.O. Box 8970, Savannah, GA 31412(or P.O. Box 2017, Augusta, GA
 30903), and the Attomey General in Washington, D. C. 20530 have also been served.


 Date ^//V/^
                                                                                         Attomey



Lucinda Rauback, Clerk
United States Bankruptcy Court
Southem District of Georgia

[Rev. 12/2012]
Case:19-05002-MJK Doc#:1 Filed:04/17/19 Entered:04/23/19 11:41:48        Page:17 of 32




          Personal Financial Statement of:
          Paul Sharma
          as of;
          4/1/2018




          Assets                              Amount In Dollars
         Cash - checking accounts             S          54a
         Cash - savings accounts                         886
         Certtiicatcs of deposit
         Securities - stocks/ bonds/
         miitiiai funds
         Motes & contracts receivable
         Life insurance Ccasli surrender
         value)
         Personal property (autos,jewelry,
         etc.)                                        15,000

         Retirement Funds[eg. IRAs, 4011:)
         Real estate (market value)
         Other assets (specify)


         Other a.sseis [specify)

         Total Assets                                 16,435



         Liabilities                         Amount in Dollafs
        Current Debt (Credit cards.
        Accounts)                            S        21.100

        Notes payable (describe below)
        Taxes payable
        Real estate mortgages
        Other liabilities(Hotel Lease
        monthly)                                      6,00
        Other liabilities (speciiy)
        Total Liatiilitlos


        Net Worth                                   (10,670




        Signature:                                     Date:




                                                             EXHIBIT 1
Case:19-05002-MJK Doc#:1 Filed:04/17/19 Entered:04/23/19 11:41:48                                                                             Page:18 of 32




          Personal Finance Statement of:
          Paul Sharnia


          Details



          t. ASSETS - Details


          Motes and Contracts lieltt
                                                                                                    Monihlv
          Ftom Whom Owing                 Dal.ince Owing   Original Amount   Original Dale          Pav'nt'nt     Maturity Date   History / Purpose
                                         S                 S                                   S




          Securltlos:stocks/bonds/mutual luntis
                                                                                                     Datccr
          Name of Security              Number ol Shares          Cost       Markei Value          Acqiiisilion
                                                           S                 3




                                                                                 Est. Market
          Company Name                    No. of shares        S Invested          Value
                                                           S                 S




          Description / Location          tutarkut Value   Amount Owing      Original Cost     Purchase Dale
Case:19-05002-MJK Doc#:1 Filed:04/17/19 Entered:04/23/19 11:41:48   Page:19 of 32
Case:19-05002-MJK Doc#:1 Filed:04/17/19 Entered:04/23/19 11:41:48   Page:20 of 32
Case:19-05002-MJK Doc#:1 Filed:04/17/19 Entered:04/23/19 11:41:48   Page:21 of 32
Case:19-05002-MJK Doc#:1 Filed:04/17/19 Entered:04/23/19 11:41:48   Page:22 of 32
Case:19-05002-MJK Doc#:1 Filed:04/17/19 Entered:04/23/19 11:41:48   Page:23 of 32
Case:19-05002-MJK Doc#:1 Filed:04/17/19 Entered:04/23/19 11:41:48   Page:24 of 32
Case:19-05002-MJK Doc#:1 Filed:04/17/19 Entered:04/23/19 11:41:48   Page:25 of 32
Case:19-05002-MJK Doc#:1 Filed:04/17/19 Entered:04/23/19 11:41:48   Page:26 of 32
Case:19-05002-MJK Doc#:1 Filed:04/17/19 Entered:04/23/19 11:41:48   Page:27 of 32
Case:19-05002-MJK Doc#:1 Filed:04/17/19 Entered:04/23/19 11:41:48   Page:28 of 32
Case:19-05002-MJK Doc#:1 Filed:04/17/19 Entered:04/23/19 11:41:48   Page:29 of 32
Case:19-05002-MJK Doc#:1 Filed:04/17/19 Entered:04/23/19 11:41:48   Page:30 of 32
Case:19-05002-MJK Doc#:1 Filed:04/17/19 Entered:04/23/19 11:41:48   Page:31 of 32
Case:19-05002-MJK Doc#:1 Filed:04/17/19 Entered:04/23/19 11:41:48   Page:32 of 32
